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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:18-cv-00337-WJM-KMT

   CHRISTOPHER P. SWEENEY, and
   NIKOLE M. SWEENEY,

   Plaintiffs,

   vs.

   CITY OF COLORADO SPRINGS, COLORADO
   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC., and
   DIVERSIFIED PROPERTY MANAGEMENT, LLC

   Defendants.


                                [PROPOSED] SCHEDULING ORDER


                 1. DATE OF CONFERENCE AND APPEARANCE OF COUNSEL

          The Scheduling/Planning Conference pursuant to Fed. R. Civ. P. 16(b) is scheduled on
   April 16, 2018 at 10:30 a.m. in Suite 1000 (Colorado Springs) before Magistrate Judge Tafoya.
   Appearing for the parties are:

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   Attorneys for Defendants Stetson Hills Master
   Home Owners Association, Inc. and Diversified
   Property Management, LLC

                                2. STATEMENT OF JURISDICTION

          Plaintiffs assert this Court has jurisdiction pursuant to 28 U.S.C. § 1331 and this action is

   authorized and instituted pursuant to 42 U.S.C. § 12101, et seq., 29 U.S.C. § 701, and 42 U.S.C.

   § 3601, et seq. Plaintiffs also assert jurisdiction supporting Plaintiffs’ claims for attorney’s fees

   and costs against Defendants is conferred by 42 U.S.C. § 12205 and 42 U.S.C. § 3613(c)(2). The

   Defendants admit that the Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

   over federal claims if there is a cognizable legal basis for the claims. Venue is proper in this

   Court pursuant to 28 U.S.C. § 1391(b).

                           3. STATEMENT OF CLAIMS AND DEFENSES

          a. Plaintiffs:

          Plaintiff Christopher P. Sweeney brings claims against Defendant City of Colorado

   Springs under the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq. and the

   Rehabilitation Act of 1973, 29 U.S.C. § 701, for (1) failing to provide accessible curb

   ramps/pedestrian right of ways; (2) failing to provide accessible bus stops; and (3) failing to

   ensure that the sidewalks in his neighborhood are not obstructed by parked cars. Plaintiff

   Christopher P. Sweeney and Plaintiff Nikole M. Sweeney also bring claims against Defendants

   Stetson Hills Master Home Owners Association, Inc. and Diversified Property Management,



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   LLC for discriminating against Mr. Sweeney on the basis of his disability by failing to provide

   him with the reasonable accommodation that HOA members be required to park in the street to

   the extent that they otherwise obstruct the sidewalks.

          b. Defendants:

          Defendant City of Colorado Springs (“City”): The City denies it discriminated against Mr.

   Sweeney or excluded him from or denied him the benefits of the City’s services, programs, or

   activities by reason of a disability in violation of Title II of the Americans with Disabilities Act or

   Section 504 of the Rehabilitation Act. The City denies its sidewalks, curbs, and bus stops are

   inaccessible to persons with mobility disabilities. The City also denies its sidewalks and curb

   ramps constitute a “service, program, or activity” under the ADA or a “program or activity” under

   the Rehabilitation Act. The City denies it caused or is liable to the Plaintiffs for any damages,

   including any damages to Mr. Sweeney’s wheelchairs.

          The City denies the driveways in the Plaintiffs’ neighborhood were not built in compliance

   with the City Code. The City denies that the City Code requirements were defective when the

   driveways in the Plaintiffs’ neighborhood were built. The City denies it caused or is causing any

   third party to block the sidewalks within the Plaintiffs’ neighborhood with their vehicles. The City

   further denies it is liable for the actions of any third party who has blocked the sidewalks within

   the Plaintiffs’ neighborhood.

          The City denies it has failed to take any meaningful remedial actions to address the

   Plaintiffs’ accessibility complaints. The City asserts Mr. Sweeney has acknowledged the City’s

   efforts to address his accessibility complaints multiple times. The City asserts it has appropriately

   responded to all of the Plaintiffs’ calls for service and has enforced the City’s ordinances

   prohibiting parking on or over a sidewalk by warning and ticketing violators. The City denies it




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   has ceased enforcing its ordinances prohibiting sidewalk obstructions. The City also denies it

   intends to cease enforcement of such ordinances going forward.

          The City also asserts it has placed signage through the Plaintiffs’ neighborhood and mass

   distributed a letter and brochures multiple times reminding residents and visitors of the City’s

   prohibition against parking on or over a sidewalk. The City asserts it has urged the Plaintiffs’

   homeowners association to permit on-street parking at all times. The City asserts it has expended

   significant resources, installed and retrofitted curb ramps, and performed sidewalk and intersection

   repairs within the Plaintiffs’ neighborhood in response to the Plaintiffs’ requests.

          The City asserts and relies on the following defenses in this case:

          1.      The Complaint, in whole or in part, fails to state a claim upon which relief may be

   granted.

          2.      All or a portion of the Plaintiffs’ claims/requests are not readily achievable and/or

   impose an undue burden on the City.

          3.      Some or all of the claims alleged by the Plaintiffs are barred by the applicable

   statute of limitations. The City asserts the Complaint on its face confirms that some or all of Mr.

   Sweeneys’ claims against the City accrued no later than March 2014.

          4.      All or a portion of the curb ramps, sidewalks, and/or bus stops the Plaintiffs

   complain of were constructed or altered prior to the enactment of the Americans with Disabilities

   Act and/or the Rehabilitation Act, and, thus, are exempted from compliance.

          5.      All or a portion of the Plaintiffs’ claims/requests are technically infeasible or

   structurally impracticable.

          6.      The City’s programs, services, and activities and existing facilities are accessible

   when viewed in their entirety.




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           7.      The City’s sidewalks and curbs are not a service, program, or activity.

           8.      All or a portion of the claims/requests of the Plaintiffs would require a fundamental

   alteration of the City’s services, programs, and activities.

           9.      The City does not have an affirmative obligation to ensure complete accessibility.

           10.     The City affords persons with disabilities equally effective opportunity to

   participate in or benefit from its benefits, services, programs, or activities.

           11.     The injuries and damages alleged to have been sustained by the Plaintiffs, if any,

   were caused solely by reason of the Plaintiffs’ own acts and conduct and not by reason of any

   unlawful conduct of the City.

           12.     The Plaintiffs may have failed to join indispensable parties, including the U.S.

   Department of Justice, without which complete relief cannot be afforded among the parties.

           13.     The Plaintiffs do not have standing to pursue some or all of their claims.

           14.     The City did not act with unlawful motive, intent or design.

           15.     The Plaintiffs’ alleged damages, if any, are barred, reduced and/or limited pursuant

   to applicable limitations of awards, caps on recovery and setoffs permitted by law.

           16.     The City’s conduct at all times was objectively reasonable.

           17.     The City’s conduct at all times was in compliance with all applicable laws.

           18.     Some or all of the claims/requests of the Plaintiffs would constitute a threat to

   health and safety.

           19.     At all times, the City acted in good faith with respect to its interpretation and

   understanding of the Americans with Disabilities Act and the Rehabilitation Act.

           20.     The damages, if any, the Plaintiffs suffered were not proximately caused by any

   conduct or actions of the City.




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          21.     The proximate cause of the Plaintiffs’ alleged injuries and/or damages, if any, may

   have been the act or omission of a third party or parties over whom the City is not legally

   responsible.

          22.     The damages sustained by the Plaintiffs, if any, were unforeseeable.

          23.     The Plaintiffs have failed to mitigate their damages, if any, as required by law.

          24.     All or some of the Plaintiffs’ claims/requests are moot.

   The City reserves the right to add additional defenses as discovery and the law disclose.

          Defendants Stetson Hills Master Homeowners Association, Inc. (hereinafter “Stetson

   Hills”) and Diversified Property Management LLC (hereinafter Diversified) deny that they

   discriminated against Mr. Sweeney on the basis of his disability or failed to provide him with a

   reasonable accommodation. Stetson Hills and Diversified deny that Mr. Sweeney ever requested

   the accommodation on which he bases his claims. Even if he had ever requested this

   accommodation, they further deny that they have the ability to enforce city codes or control over

   the sidewalks or streets in question.

          As indicated in their Motion to Dismiss, Stetson Hills and Diversified deny that the

   Plaintiffs have pleaded a cognizable claim against them under the Fair Housing Act, 42 U.S.C. §

   3601. Stetson Hills and Diversified further deny that the accommodation that Mr. Sweeney alleges

   he requested is a reasonable accommodation or necessary to afford him an equal opportunity to

   use and enjoy the dwelling. Stetson Hills and Diversified further submit that the Plaintiffs are not

   members of the HOA or owners of the dwelling in question, but rather are tenants. Based on

   Plaintiffs’ claims that the sidewalks are blocked and accepting this as true, the sidewalks would be

   blocked for anyone wishing to use them, not just Mr. Sweeney and, therefore, there is no

   comparable housing opportunity for non-disabled people from which Mr. Sweeney has been




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   deprived. In the event that Stetson Hills and Diversified’s motion to dismiss is not granted, their

   complete defenses will be set forth in their Answer.

                                      4. UNDISPUTED FACTS

          The following facts are undisputed:

                   1.    Plaintiffs currently reside in a house they rent at 6224 La Plata Peak

                         Drive, Colorado Springs, CO.

                   2.    6224 La Plata Peak Drive, Colorado Springs, CO is within the Stetson

                         Hills Master Home Owners Association, Inc.

                   3.    Vehicles park in driveways in the Stetson Hills neighborhood.

                   4.    Plaintiffs sought the City’s assistance, requested that the City provide

                         assistance by ensuring that the sidewalks remain accessible to individuals

                         with mobility disabilities, and requested enforcement of specific City

                         Code Ordinances.

                   5.    Congress enacted the Americans with Disabilities Act of 1990, as

                         amended.

                   6.    Plaintiffs assert claims under the Americans with Disabilities Act, the

                         Rehabilitation Act of 1973, and the Fair Housing Act.

                   7.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), as the

                         alleged events giving rise to the claims asserted in the Complaint allegedly

                         occurred in the state of Colorado.

                   8.    Bus Stop ID Nos. 2425 and 2496 are not connected to any sidewalks

                   9.    At all relevant times, the City has been a public entity within the meaning

                         of Title II of the Americans with Disabilities Act.




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                     10.    The City has constructed, altered, or repaired certain sidewalks and curb

                            ramps within the Ridgeview at Stetson Hills Filing No. 10 Development

                            Plan, Colorado Springs, CO.

                     11.    The City has the authority to enforce City ordinances.

                     12.    At all relevant times to this action, the City has provided bus stops as a

                            service, program, and/or activity available to the public.

                     13.    The City is a direct recipient of federal financial assistance sufficient to

                            invoke the coverage of Section 504 of the Rehabilitation Act of 1973, and

                            has received such federal financial assistance at all times relevant to the

                            claims asserted in the Complaint.

                                   5. COMPUTATION OF DAMAGES

             a. Plaintiffs: Plaintiffs claim actual economic damages as established at trial;

   compensatory damages, including but not limited to those for past and future pecuniary losses,

   emotional pain, suffering, inconvenience, mental anguish, and other non-pecuniary losses;

   punitive damages for all claims as allowed by law in an amount to be determined at trial; pre-

   judgment and post-judgment interest at the highest lawful rate; attorney’s fees and costs, and

   such further relief as justice requires.

             A more precise computation of Plaintiffs’ damages, to the extent that they are subject to

   such computation, will be provided during the normal course of discovery, and will be

   determined by a jury in its sound discretion following a presentation of evidence at trial in this

   matter.

             Damages for emotional distress are not susceptible to the type of calculation

   contemplated by F.R.C.P. 26(a)(1). See Williams v. Trader Pub. Co., 218 F.3d 481, 481 n.3 (5th




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   Cir. 2000) (“[C]ompensatory damages for emotional distress are necessarily vague and generally

   considered a fact issue for the jury”). Similarly, the calculation of punitive damages is premature

   and not susceptible to the type of calculation contemplated by F.R.C.P. 26(a)(1). See, e.g.

   Burrell v. Crown Cent. Petroleum, 177 F.R.D. 376, 386 (D. Tex. 1997).

          b. Defendants:

          Defendant City of Colorado Springs requests attorneys’ fees and costs incurred in the

   defense of this action, including expert witness fees.

          Defendants Stetson Hills and Diversified have filed a motion to dismiss Plaintiffs’ claim

   against them and request attorney fees and costs incurred in defense of this action, including

   expert witness fees.

              6. REPORT OF PRECONFERENCE DISCOVERY AND MEETING
                             UNDER FED. R. CIV. P. 26(f).

   a.     The Fed R. Civ. P. 26(f) meeting was conducted via telephone between counsel on March

          12, 2018.

   b.     Participants in the meeting were as follows:

          (1) Julian G.G. Wolfson (counsel for Plaintiffs)

          (2) Tracy Lessig and Lindsay Rose (counsel for Defendant City of Colorado Springs)

          (3) Karen H. Wheeler and Jami A. Maul (counsel for Defendants Stetson Hills Home

          Owners Association, Inc. and Diversified Property Management, LLC)

   c.     The parties’ initial disclosures, pursuant to Rule 26(a)(1), are to be made on or prior to

          March 26, 2018.

   d.     In light of the large number of documents to be identified and/or produced by Defendant

          City of Colorado Springs, and since Plaintiffs will be filing an amended complaint, the

          parties propose that initial disclosures be due on or before April 11, 2018. The parties



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          reserve the right to supplement their disclosures as additional information/documentation

          becomes available.

   e.     The parties have not agreed to conduct informal discovery.

   f.     The parties agree to take all reasonable steps to reduce discovery and costs, and agree to

          use a unified numbering system. The parties will conduct depositions via telephone when

          necessary upon agreement.

   g.     The parties anticipate that their claims and defenses will involve a significant amount of

          electronically store information (“ESI”). Defendant City of Colorado Springs will be

          using a software program called “Relativity” to assist with the production of ESI. The

          parties will agree on certain key terms for Defendant City of Colorado Springs to use

          when compiling its ESI through the Relativity program. The parties will also come to

          an agreement on the different types of documents to be preserved for purposes of

          discovery. Finally, the parties agree to exchange all discovery in PDF format to the

          extent practical.

   h.     The parties wish to conduct discovery before discussing the possibility for a prompt

          settlement or resolution of this case.

                                             7. CONSENT

   At least one party does not consent to United States Magistrate Judge Jurisdiction.

                                  8. DISCOVERY LIMITATIONS

   a.     For the limited purpose of discovery, the parties propose that they be considered as three

          separate party groups: (1) Plaintiffs (including both Christopher P. Sweeney and Nicole

          M. Sweeney); (2) HOA Defendants (including Stetson Hills and Diversified); and (3)

          Defendant City of Colorado Springs. The parties propose fifteen (15) lay witness




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         depositions per party group. Depositions of medical providers and specially retained

         expert witnesses are in addition to the foregoing limit. The parties also propose that each

         party group be provided with seventy (70) interrogatories.

   b.    The parties do not propose any modification to the limitation on the length of depositions.

         A deposition is limited to one day of seven hours as provided in Fed. R. Civ. P. 30(d)(1).

   c.    The parties propose that each party group be provided with seventy (70) requests for

         production and seventy (70) requests for admission.

   d.    In the event that confidential documents are produced in discovery, the parties anticipate

         the need for a protective order. If a protection order is needed or requested, the parties

         will work on submitting a stipulated order and providing it to the Court for approval.

                                9. CASE PLAN AND SCHEDULE

   a.        Deadline for Joinder of Parties and Amendment of Pleadings: May 11, 2018.

   b.        Discovery Cutoff: December 12, 2018.

   c.        Dispositive Motion Deadline: January 28, 2019.

   d.        Expert Witness Disclosure:

             1. Anticipated fields of expert testimony:

                Plaintiffs: Plaintiffs anticipate the possibility of retaining a medical expert

                pertaining to Plaintiffs’ physical disabilities and emotional injuries, as well as an

                expert on ADA compliance.

                Defendants: Defendant City of Colorado Springs anticipates designating specially

                retained expert witnesses in the fields of ADA compliance and zoning codes.

                        Defendants Stetson Hills and Diversified anticipate designating specially

                retained expert witnesses in the fields of Fair Housing Compliance and




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                  HOA/property management and may designate, if necessary to rebut any of the

                  Plaintiff’s claims, a medical and/or occupational medicine physician.

               2. The parties propose a limit of two (2) specially retained experts per party. Any

                  treating medical providers are in addition to the specially retained experts.

               3. The parties shall designate all experts and provide opposing counsel and any pro

                  se parties with all information specified in Fed. R. Civ. P. 26(a)(2) on or before

                  September 12, 2018.

               4. The parties shall designate all rebuttal experts and provide opposing counsel or

                  any pro se party with all information specified in Fed. R. Civ. P. 26(a)(2) on or

                  before October 12, 2018.

   e.          Identification of the Persons to be Deposed:*

               Plaintiffs:

                Name of Deponent       Date of               Time of                Expected Length
                                       Deposition            Deposition             of Deposition
                City of Colorado       TBD                   TBD                    7 hours
                Springs
                Stetson Hills          TBD                   TBD                    7 hours
                Master Home
                Owners
                Association, Inc.
                Diversified            TBD                   TBD                    7 hours
                Property
                Management, LLC
                Officer MJ             TBD                   TBD                    7 hours
                Thomson
                Michael Killebrew      TBD                   TBD                    7 hours

               Defendants:

               Defendant City of Colorado Springs:


   *
    The parties reserve the right to take additional depositions of person identified in initial
   disclosures or through the course of discovery.

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                   Name of Deponent     Date of               Time of             Expected Length
                                        Deposition            Deposition          of Deposition
                   Christopher          TBD                   TBD                 7 hours
                   Sweeney
                   Nikole Sweeney       TBD                   TBD                 7 hours
                   Stetson Hills        TBD                   TBD                 7 hours
                   Master Home
                   Owners
                   Association, Inc.
                   Diversified          TBD                   TBD                 7 hours
                   Property
                   Management, LLC
                   Federal Highway      TBD                   TBD                 4 hours
                   Administration
                   Christopher          TBD                   TBD                 4 hours
                   Sweeney’s treating
                   medical providers
                   Any expert           TBD                   TBD                 7 hours
                   witness(es)
                   designated by any
                   other party


                  Defendants Stetson Hills and Diversified:

                   Name of Deponent     Date of               Time of             Expected Length
                                        Deposition            Deposition          of Deposition
                   Christopher          TBD                   TBD                 7 hours
                   Sweeney
                   Nikole Sweeney       TBD                   TBD                 7 hours
                   City of Colorado     TBD                   TBD                 7 hours
                   Springs
                   Christopher          TBD                   TBD                 4 hours
                   Sweeney’s treating
                   medical providers
                   Any expert           TBD                   TBD                 7 hours
                   witness(es)
                   designated by any
                   other party


   f.     Deadline for Interrogatories: The parties propose that the last written interrogatories shall

   not be served upon any adverse party any later than thirty-three (33) days before the discovery

   cutoff date.


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   g.     Deadline for Requests for Production of Documents and/or Admissions: The parties

   propose that the last written request for production of documents and/or request for admission

   shall not be served upon any adverse party any later than thirty-three (33) days before the

   discovery cutoff date.

                            10. DATES FOR FURTHER CONFERENCES

   a.          Status conferences in this case will be held at the following dates and times:

               ___________________________________________.

   b.          A final pretrial conference will be held in this case on _______________ at o’clock

               ___m. A Final Pretrial Order shall be prepared by the parties and submitted to the

               court no later than seven (7) days before the final pretrial conference.

                               11. OTHER SCHEDULING MATTERS

   a.          Identify those discovery or scheduling issues, if any, on which counsel after a good

               faith effort were unable to reach: None.

   b.          The parties anticipate that the jury trial will last seven (7) days for claims triable to a
               jury.

   c.          The parties agree that all pretrial proceedings be held in the District Court’s facilities

               at 212 N. Wahsatch Street, Colorado Springs, Colorado 80903-3476. The parties

               stipulate that counsel appearances at these proceedings may be made telephonically,

               with permission from the Court.

                            12. NOTICE TO COUNSEL AND PRO SE PARTIES

           The parties filing motions for extension of time or continuances must comply with

    D.C.COLO.LCivR 6.1(c) by submitting proof that a copy of the motion has been served upon

    the moving attorney's client, all attorneys of record, and all pro se parties.




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            Counsel will be expected to be familiar and to comply with the Pretrial and Trial

    Procedures or Practice Standards established by the judicial officer presiding over the trial of

    this case.

            With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

            Counsel and unrepresented parties are reminded that any change of contact information

    must be reported and filed with the Court pursuant to the applicable local rule.

                             13. AMENDMENTS TO SCHEDULING ORDER

    The Scheduling Order may be altered or amended only upon a showing of good cause.

    DATED at ____________________, Colorado, this                   day of      , 2018.

                                                          BY THE COURT:




                                                          United States Magistrate Judge




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   APPROVED:

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